              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN

 SARAH MOORE,

                      Plaintiff,
                                                   Case No. 20-CV-1029-JPS
 v.

 KOHL’S CORPORATION,
                                                                    ORDER
                      Defendant.


       On July 8, 2020, Plaintiff filed a complaint alleging violations of the

Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq and Wisconsin

state law. (Docket #1). On July 6, 2021, the parties signed and filed a

stipulation of dismissal of this action in its entirety with prejudice and

without costs pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). (Docket #7). The

Court will adopt the parties’ stipulation.

       Accordingly,

       IT IS ORDERED that the parties’ stipulation of dismissal (Docket

#7) be and the same is hereby ADOPTED; and

       IT IS FURTHER ORDERED that this action be and the same is

hereby DISMISSED with prejudice and without costs.

       Dated at Milwaukee, Wisconsin, this 7th day of July, 2021.

                                   BY THE COURT:




                                   J.P. Stadtmueller
                                   U.S. District Judge




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